          Case 2:06-cr-00041-RSL       Document 159      Filed 07/31/06      Page 1 of 1



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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                Plaintiff,                             Case No. CR06-041L
11         v.                                            ORDER ON MOTION
12                                                       TO RECONSIDER
     RICHARD FABEL, et al.,
13                Defendants.
14
15        This matter comes before the Court on Defendant Richard Allen Fabel’s “Motion to

16 Reconsider Order Affirming Magistrate Judge’s Detention Order” (Dkt. # 122). Defendant
17 argues for reconsideration based on a factual error in the Court’s previous order. See Order
18 Affirming Magistrate Judge’s Detention Order (Dkt. # 120). That error has since been
19 corrected. See Order Granting Motion to Clarify (Dkt. # 125). Defendant’s motion is therefore
20 DENIED.
21
          DATED this 31st day of July, 2006.
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25
                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge
26

     ORDER ON MOTION
     TO RECONSIDER
